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                IN THE UNITED STATES DISTRICT COURT
              FOR THE SOUTHERN DISTRICT OF MISSISSIPPI
                         SOUTHERN DIVISION
UNITED STATES OF AMERICA,
ex. rel. ROBYN TURNER                                                   PLAINTIFFS

V.                                     CIVIL ACTION NO. 1:18-cv-338-HSO-JCG

THE GARDENS PHARMACY, LLC,
DR. BRIAN TSANG, and ALBERT TSANG                                     DEFENDANTS

                                     ORDER
      The United States having declined to intervene in this action pursuant to the

False Claims Act, 31 U.S.C. § 3730(b)(4)(B), the Court rules as follows:

      IT IS ORDERED that,

      1. the Complaint be unsealed and served upon the defendants by the relator;

      2. all other contents of the Court’s file in this action remain under seal and

not be made public or served upon the defendants, except for this Order and The

Government’s Notice of Election to Decline Intervention, which the relator will

serve upon the defendants only after service of the Complaint;

      3. the seal be lifted as to all other matters occurring in this action after the

date of this Order;

      4. the parties shall serve all pleadings and motions filed in this action,

including supporting memoranda, upon the United States, as provided for in 31

U.S.C. § 3730(c)(3). The United States may order any deposition transcripts and is

entitled to intervene in this action, for good cause, at any time;

      5. the parties shall serve all notices of appeal upon the United States;

      6. all orders of this Court shall be sent to the United States; and that
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      7. should the relator or the defendants propose that this action be dismissed,

settled, or otherwise discontinued, the Court will solicit the written consent of the

United States before ruling or granting its approval.

      SO ORDERED, this the 14th day of January, 2020.


                                        s/ John C. Gargiulo
                                        JOHN C. GARGIULO
                                        UNITED STATES MAGISTRATE JUDGE




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